      Case 1:17-bk-12408-MB            Doc 409 Filed 01/22/18 Entered 01/22/18 14:13:12         Desc
                                        Main Document     Page 1 of 6


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 66

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10
10
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11
11    Attorneys for Official Committee of Equity Security Holders

12
12                                UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
13
13                                  SAN FERNANDO VALLEY DIVISION

14
14    In re:                                                  Lead Case No.: 1:17-bk-12408-MB
                                                              Jointly administered with:
15
15    ICPW Liquidation Corporation, a California              1:17-bk-12409-MB
      corporation1,                                           Chapter 11 Cases
16
16
               Debtor and Debtor in Possession.               DECLARATION OF SCOTT JARUS IN
17
17    ____________________________________                    SUPPORT OF MOTION IN SUPPORT OF
      In re:                                                  CONFIRMATION OF DEBTORS’ AND
18
18                                                            OFFICIAL COMMITTEE OF EQUITY
      ICPW Liquidation Corporation, a Nevada                  SECURITY HOLDERS’ JOINT PLAN OF
19
19    corporation2,                                           LIQUIDATION DATED JANUARY 12, 2018
20
20
               Debtor and Debtor in Possession.               Plan Confirmation Hearing:
21
21    ____________________________________                    Date:    February 12, 2018
                                                              Time:    1:30 p.m.
22
22         Affects both Debtors                               Place:   Courtroom “303”
                                                                      21041 Burbank Blvd.
23
23      Affects ICPW Liquidation Corporation, a                       Woodland Hills, CA
      California corporation only
24
24
         Affects ICPW Liquidation Corporation, a Nevada
25
25    corporation only

26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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                                                          1
     Case 1:17-bk-12408-MB         Doc 409 Filed 01/22/18 Entered 01/22/18 14:13:12               Desc
                                    Main Document     Page 2 of 6


 1           I, Scott Jarus, hereby declare as follows:
 2           1.      I am a member and the chairman of the Official Committee of Equity Security
 3
      Holders (the “OCEH”) in the pending chapter 11 bankruptcy cases of ICPW Liquidation
 4
      Corporation, a California corporation, formerly known as Ironclad Performance Wear
 5
      Corporation, a California corporation (“ICPW California”), and ICPW Liquidation Corporation, a
 6

 7    Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada

 8    corporation (“ICPW Nevada” and collectively with ICPW California, the “Debtors”).

 9           2.      The Debtors each filed a Voluntary Petition for relief under Chapter 11 of the
10
      Bankruptcy Code on September 8, 2017 (“Petition Date”), and the OCEH was formed by the
11
      Office of the United States Trustee shortly thereafter.
12
             3.      In that capacity, I have personal knowledge of the facts set forth herein, and, if
13
      called as a witness, could and would testify competently with respect thereto.
14

15           4.      I am submitting this Declaration in support of the joint motion (the “Motion”) filed

16    by the Debtors and the OCEH requesting the Court to confirm the “Debtors’ and Official

17    Committee of Equity Security Holders’ Joint Plan of Liquidation Dated January 12, 2018” (the
18
      “Plan”), which I understand the Debtors and the OCEH filed with the Court on January 12, 2018
19
      as Docket Number 383. The Debtors and the OCEH are collectively referred to herein as the
20
      “Plan Proponents”.
21
             5.      I believe that the Plan represents the optimal outcome for these chapter 11
22

23    bankruptcy cases (the “Cases”). I believe that the confirmation of the Plan provides the best

24    vehicle for maximizing the distribution to the Shareholders and getting a significant distribution
25    made to the Shareholders on the earliest date possible under the circumstances.
26
             6.      Any terms which are defined in the Plan which are not defined in this Declaration
27
      shall be deemed to have the same definition in this Declaration.
28

                                                          2
     Case 1:17-bk-12408-MB         Doc 409 Filed 01/22/18 Entered 01/22/18 14:13:12                     Desc
                                    Main Document     Page 3 of 6


 1           7.      A liquidating trust (the “Trust”) is being established under the Plan. On the
 2    Effective Date, the Debtors and the trustee of the Trust (the “Trustee”) will enter into a grantor
 3
      trust agreement (the “Trust Agreement”) solely for the benefit of the Shareholders. A copy of the
 4
      Trust Agreement is attached as Exhibit “2” to the Plan. The Trustee will, among other things,
 5
      investigate and, if appropriate, pursue all claims and causes of action that belong to the Estates
 6

 7    and are assigned to the Trust for the benefit of the Shareholders.

 8           8.      It is currently anticipated that the members of the OCEH (Ron Chez, Patrick

 9    O’Brien and me) will serve as the initial members of the Trust Board (the “Trust Board
10
      Members”). It is anticipated that Matthew Pliskin will serve as the Trustee of the Trust.
11
             9.      Prior to the Plan Confirmation Hearing, the OCEH will file with the Court a
12
      supplemental pleading which (i) identifies (and seeks Court approval of) the Trustee, (ii)
13
      identifies any additional Trust Board Member(s), and (iii) sets forth (and seeks Court approval of)
14

15    the proposed compensation of the Trustee and the Trust Board Members. I believe that the

16    foregoing is consistent with the best interests of creditors, equity holders and public policy.

17           10.     Following the Effective Date, the Trustee will be responsible for the timely
18
      payment of all fees owing to the Court and the United States Trustee, and the Trustee will pay all
19
      such fees out of the funds in the Trust.
20
             11.     While the Plan Proponents reserve all rights in this regard, the Plan Proponents are
21
      not at this time requesting the Court to approve any modifications to the Plan.
22

23           12.     The Plan Proponents have proposed the Plan in good faith. The Plan is the result

24    of negotiations between the Debtors and the OCEH – always with the best interests of creditors
25    and Shareholders in mind.
26
             I declare under penalty of perjury that the foregoing is true and correct to the best of my
27
      knowledge, information and belief.
28

                                                        3
     Case 1:17-bk-12408-MB     Doc 409 Filed 01/22/18 Entered 01/22/18 14:13:12   Desc
                                Main Document     Page 4 of 6


1          Executed this 22nd day of January, 2018, at Dunedin, New Zealand.
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                                                            SCOTT JARUS
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Case 1:17-bk-12408-MB                Doc 409 Filed 01/22/18 Entered 01/22/18 14:13:12                                       Desc
                                      Main Document     Page 5 of 6
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled DECLARATION OF SCOTT JARUS IN
      SUPPORT OF MOTION IN SUPPORT OF CONFIRMATION OF DEBTORS’ AND OFFICIAL
  4   COMMITTEE OF EQUITY SECURITY HOLDERS’ JOINT PLAN OF LIQUIDATION DATED JANUARY
      12, 2018 will be served or was served (a) on the judge in chambers in the form and manner required by
  5   LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On January 22, 2018, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  8   to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            Susan K Seflin sseflin@brutzkusgubner.com
               John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 18            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com,
 19             raul.morales@bryancave.com;geri.anderson@bryancave.com
               Douglas Wolfe dwolfe@asmcapital.com
 20
 21   2. SERVED BY UNITED STATES MAIL: On January 22, 2018, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 22   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 23
      U.S. Securities and Exchange Commission
 24   Attn: Bankruptcy Counsel
      444 South Flower Street, Suite 900
 25   Los Angeles, CA 90071-9591
 26   Russell Clementson
      S Margaux Ross
 27   United States Trustee (SV)
      915 Wilshire Blvd, Suite 1850
 28   Los Angeles, CA 90017

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB                Doc 409 Filed 01/22/18 Entered 01/22/18 14:13:12                                       Desc
                                      Main Document     Page 6 of 6

  1                                                                           Service information continued on attached page

  2
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  3   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on January 22, 2018, I served the following persons and/or entities by personal delivery, overnight mail
  4   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  5   mail to, the judge will be completed no later than 24 hours after the document is filed.

  6   Served via Overnight Mail
      Hon. Martin R. Barash
  7   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  8   Woodland Hills, CA 91367

  9   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 10
       January 22, 2018                      Lourdes Cruz                                /s/ Lourdes Cruz
 11    Date                                  Type Name                                   Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
